      Case 2:24-cv-01608-WSS          Document 35-4        Filed 01/23/25     Page 1 of 2




                       UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    Thomas Dexter Jakes                            Civil Action No. 2:24-CV-1608-WSS
                          Plaintiff

    ~against~                                       Declaration Of Tyrone Blackburn In
                                                      Support Of Defendant’s Special
    Duane Youngblood, et al.                                 Motion To Dismiss
                                                     Pursuant To Pennsylvania’s Anti-
                          Defendant                            Slapp Statute


        I, Tyrone A. Blackburn, Esq., being duly sworn, depose and state under the penalty of
perjury as follows:
    1. I am the managing attorney at T.A. Blackburn Law, PLLC, with offices at 90 Broad
        Street, 2nd Floor, New York, NY 10004, and serve as counsel for Defendant Duane
        Youngblood in the above-captioned matter.
    2. In furtherance of Defendant’s Special Motion to Dismiss Pursuant to Pennsylvania’s
        Anti-SLAPP Statute, I have attached the following exhibits, which are relevant to the
        facts and issues raised in this case:
                Exhibit A: Sworn Affidavit of Jeffrey S. Gray
                Exhibit B: Sworn Affidavit of Richard Edwin Youngblood
                Exhibit C: Sworn Affidavit of Daniel B. Spaulding
                Exhibit D: Sworn Affidavit of LaShawn Youngblood
                Exhibit E: Sworn Affidavit of Joshua Munoz
                Exhibit F: Sworn Affidavit of Landon Claybourne
                Exhibit G: News Article - More About TD Jakes’ Gay Accusations Plus
                Paedophilia Activities Lands Online
                Exhibit H: News Article - T.D. Jakes: ‘If Everything Was True, All I Got to Do Is
                Repent’
                Exhibit I: Screenshot of Jermaine Jakes’ Threatening Message to Defendant
                Duane Youngblood
                Exhibit J: Psychological Evaluation by Linda Sturdivant, M.Ed., LPC, detailing
                Defendant’s trauma exacerbated by threats
                Exhibit K: News Article - Bishop T.D. Jakes Denies Sexual Misconduct at
                Diddy’s Parties
                Exhibit L: News Article - Bishop T.D. Jakes and Long-Time Friend Accused of
                Sexual Assault
                Exhibit M: News Article - Kenneth Copeland, T.D. Jakes, & Rick Warren Are
                Being Accused of Sexual Abuse
                Exhibit N: News Article - Text Messages of Bishop T.D. Jakes Flirting with a
                Man Surface
                Exhibit O: News Article - Victims Come Forward About Bishop T.D. Jakes,
                Plans to File Sexual Assault Lawsuits
      Case 2:24-cv-01608-WSS           Document 35-4        Filed 01/23/25      Page 2 of 2




             Exhibit P: Full Text of New York Times Co. v. Sullivan, 376 U.S. 254
             Exhibit Q: Pennsylvania Anti-SLAPP Statute (Act of Jul. 17, 2024, P.L. 836, No.
             72)
             Exhibit R: Full Text of Philadelphia Newspapers v. Hepps, 475 U.S. 767
             Exhibit S: Court Order Denying Jakes’ Motion for Expedited Discovery
             Exhibit T: Police Report Filed by Duane Youngblood Regarding Jermaine Jakes’
             Threat
   3. Each exhibit has been carefully reviewed and deemed critical to supporting Defendant’s
      Special Motion to Dismiss and to substantiating claims that Plaintiff T.D. Jakes and
      Jermaine Jakes engaged in retaliatory conduct against Defendant.

   I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief.

                                                                           Respectfully submitted,

Dated: January 23, 2025                                              /s/Tyrone A. Blackburn, Esq.
                                                                     Tyrone A. Blackburn, Esq.
                                                                     T. A. Blackburn Law, PLLC.
                                                                     90 Broad Street, 2nd Floor
                                                                     New York, NY 10004




                                                                                                 2
